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                   Exhibit 7




                   Exhibit 7
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   CMP                                                                                                                  January2004
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                                               I N T E R N A T I


           Nanoparticle
                    Paclitaxel
                            Doubles
                                 Response
                                       Rate
           • SAN ANTONIO-Homogenizing paclitaxel                                                                     to 10 mg/mL vs 0.3 to 1.2 mg/mL for Taxol,
           with human serum album in under pressure                                                                  which requir es correspondingly greater vol-
           produces nanoparticles that become a colloid                                                              umes and longer infusion times.
           when mixed with ordinary saline, are less toxic                               Dr.O'Shaughessy                 All pat ients had met astatic disease and no
           than standard Taxol, and are much more effec-                                                             prior taxanes; 40% had liver-dominant disease;
           tive at delivering paclitaxel into the tumor,                                                             one third had lung-dominant disease; three
           researchers said at th e 26th Annual San                                                                  fourths had prior treatment with anthracy -
           Antonio Breast Cancer Symposium (abstract                                                                 clines, half of which had been for metastatic
           44). [A preliminary report of thi s study              plasticizers out of conventional polyvinylchlo-    disease.
           appeared in ONI November 2003, page 2.]                ride (PVC) tubing; as a result, Taxol must be          The primar y endpoint was confirmed over-
                Joyce O'Shaughne ssy, MD, reported a phas e       mixed in glass bottles or in non-P VC infusion     all response rate (complete respons e plus par-
           III trial in meta static breast cancer that showed     systems with in-line filtration. ABI-007 can be    tial response ) of target lesions after six cycles of
           the new formulation , known as ABI-007                 reconstituted in normal salin e and does not       treatmen t . Response was judged by RECIST
            (Abraxane), produced highe r overall respon se        require any special handling.                       (Respon se Evaluation Crit eria in Solid
           rat es, longer time to progre ssion, and signifi-          Not only does albumin not cause the se         Tumors) and had to be documented by cycle 4
           cantly less hematologic toxicity than Taxol            Cremophor-associated problems but it is            to permit confirmation by cycle 6. Responses
           without th e use of prophylactic steroids.             actively transported across cell membranes by      were verified by a blinded indep endent radiol-
            "This formulation permits a shorter infusion          a nonsaturable mechani sm .                         ogy team. Secondary endpoint s were time to
            schedule, gives a higher response rate, and                                                               progr ession and overall survival, but Dr.
            causes less neutropenia than Taxol," said Dr.                                                             O'Shaughnessy said that median survival has
            O'Shaughnessy, co-director, Breast Cancer
                                                                  Higher response                                     not yet been reached.
            Research, U.S. Oncology.
                 This trial is expected to provide pivotal data
                                                                      rate vs Taxol                                                   StudyResults
            for the FDA's review of ABI-007, which was
            given fast-track status earlier this year. It was
                                                                    in metastatic                                    The median numb er of cycles delivered in the
            sponsored by American Pharmaceutical
            Partners , Inc., a subsidi ary of American
                                                                      breast cancer                                  trial was six for ABI-007 and five for Taxol,
                                                                                                                     with m edian delivered doses of 255 mg and
            BioScience,Inc., where the drug was developed.                                                           171 mg, respectively. The mean total paclitaxel
                 ABI-007 was created as a way of transpo rt-          Patients in the phase III trial were random-   doses delivered were 1,459 m g/m ' with ABI-
            ing paclitaxel, which is highly insoluble in          ized to ABI-007 260 mg/m' given over 30 min-       007 and 909 mg/m' with Taxol. "The m ean
            aqueous solutions, into th e tumor cell. Taxol        utes IV without routine prem edication (n =        delivered dose of paclitaxel was 60% higher
            accomplishes this by using the castor oil deriv-      229) every 3 weeks or to Taxol 175 mg/m' given     with ABI-007," Dr. O'Shaughnessy said.
            ative Cremophor as a carri er, but researchers        over 3 hours IV with dexametha sone and anti-          ABI-007 produced significantly more over-
              we long suspected that Cremophor con-               histamine premedications (n = 225) every 3         all response s th an Taxol (21% vs 10%, P = .002,
             • ibutes to hypersensitivity reactions as well as    weeks. The difference in infusion times reflects   on independent radiolog y review response
            to the hematologic and neurologic toxicities          th e fact that ABI-007 can be reconstituted in     assessment). Time to tumor progression was
            associated with Taxol. Cremophor also leaches         normal saline at a paclitaxel concentration of 2   also significantly longer (21.9 weeks vs 16.1




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weeks, P = .029). The higher response rate                the higher dose of paclitaxel actually delivered.                by arresting cells in the Gl phase of the cell
with ABI-007 was noted both for first-line                   There were no grade 3-4 hypersensitivity                      cycle, thus preventing target cells from enter-
patients and for those who had prior                      reactions following ABI-007 despite the                          ing the mitosis phase in which paclitaxel is
chemotherapy for metastatic disease, as well as           absence of premedication.                                        most effective (Investigational New Dru:
for patients with poor prognostic indicators                                                                               19:125-141, 2001).
such as liver or lung metastases.                                Mechanism
                                                                         of Rapid Transport                                    "ABI-007 permits paclitaxel dosing of 260
                                                                                                                           mg/m 2 over 30 minutes without requirement
                   Toxici
                      ty                                  Dr. O'Shaughnessy said that work reported                        for steroids or other premedication, and it pro-
                                                          separately by Neil Desai, PhD, of American                       duces higher objective response rates, longer
Grade 3 neutropenia was 25% with ABI-007 vs               Bioscience, Inc., Santa Monica, California,                      time to progression, and fewer side effects than
31% with Taxol, and grade 4 neutropenia was               showed that an albumin-specific receptor                         Taxol," she said. "Weekly ABI-007 produced
9% vs 22% (P < .009). Median ANC nadir was                (gp60 or albondin) rapidly binds and trans-                      virtually no toxicity in previously taxane-
1,350 vs 900/mm ' (P < .001). However, the                ports albumin across endothelial cells of the                    refractory patients, and a weekly trial of front-
clinical importance of this difference is not             tumor microvasculature into the tumor tissue                     line ABI-007 is being planned. "
dear, since the neutropenia was not associated            space. She suggested that this mechani sm
with increased risk of febrile neutropenia                might be responsible for the more rapid trans -                  I. Craig Henderson, MD, of the University of
(which occurred in less than 1% of patients in            port of paclitaxel into the tumor with ABI-007                   California, San Francisco, who participated
each group) or of infection, and there were no            and that, in contrast, Cremophor actually                        in a pre ss conference discussing the study,
septic deaths. Thrombocytopenia occurred in               inhibits the binding of paditaxel to tumor ves-                  called for a head-to-head trial comparing
less than 1% of patients in each group .                  sel endothelial cells.                                           ABI-007 to docetax-el (Taxotere) in metasta -
    There was significantly more grade 3 senso-               In a poster presentation (abstract 524), Dr.                 tic breast cancer. Dr. Henderson also rai sed a
ry neuropathy with ABI-007 (10% vs 2%, P <                Desai and his colleagues said that in additi on                  concern about whether clinician s might
.001). There were no episodes of grade 4 neu-             to carrying paclitaxel, Cremophor also forms                     quickly shift from Taxol to ABI-007 if the
ropathy. Dr. O'Shaugh-nessy said that the                 micelles within which the drug becomes                           drug is approved by the FDA. "I would need
grade 3 neuropathies associated with ABI-007              entrapped. This may account for the observed                     to see phase II data on ABI-007 in previously
improved to grade 1-2 in a median of22 days.              lack of dose response relationship with Taxol                    untreated patients before I would say it
The researchers suspect that the increased neu-           in breast cancer. Cremophor itself has also                      should be substituted for weekly Taxol," Dr
rotoxicity seen in the ABI-007 arm was due to             been shown to interfere with paclitaxel efficacy                 O'Shaughnessy said. ONI




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BIOTECH

DRAWING
     ABEAD
ONSIDEEFFECTS
Drugmakers are figuring out ways
to make some old remedies safer

         N HER 14-YEAR FIGHT AGAINST companies, like APP, aim
        breast cancer,Janet Powell has be- to remove noxious chemi-
         come all too familiar with the foul cals. Others hope to sal-
         side effects of chemotherapy.               vage bad drugs by im-
        'Ii"eatments left her wracked with            proving the way the body
         nausea, hot flashes, and uncontrol-          digests them. Yet others
        lable tingling in her hands and               use what they have
feet. Powell's only relief came in 2002,              learned about side effects
when she enrolled in a clinical trial of to overhaul their develop-
Abraxane, a drug derived from a popular               men t proc ess. Togethe r,
chemo treatment but reengineered to these strategies couldres-
cause fewer side effects. "All of a sudden            urrect hundreds of pharmaceutical flame- continue Cylert, used to treat attention
I started feeling really good," says Powell, outs-drugs that were pulled from the                  deficit hyperactivity disorder, because of
a 57-year-old secretary in Greenville, Tex. market, or never made it out of the lab declining sales. But the withdrawal came
"I almost forgot I had cancer."                       becauseof adverse reactions.                 just days after a consumer group peti-
    Abraxane, approved by                                               There couldn't be a bet- tioned the FDA to pull it. Now, Johnson
the Food & Drug Adminis-                 THE STAT                    ter time for companies to & Johnson is facing questions about one
tration in January, is part of                                       zero in on drug side effects. of its fast-growing cardiac treatments.


                                       23
a growing class of drugs de-                                         Ever since Merck & Co. All told, the FDA has issued 23 safety
signed to improve on                                                 withdrew Vioxx last year, alerts this year-three times as many as
flawed,older ones. Ameri-                                            the pharmaceutical indus-     it put out by this time last year.
can Pharmaceutical Part-                                             try has been pelted with         The number of such warnings would
ners Inc. (APP)created it by     Drug-safety
                                           alerts                    one safety concern after fall dramatically if side effects could be
reformulating Taxol, a 13-                                           another. The latest: On engineered out. And that challenge has
year-old chemo drug, to re-      issuedbytheFDA                      Mar. 25, Abbott Laborato-     inspired some ingenious approaches. For
move the ingredient that         sofarthisyear,up                    ries said it would stop sell- example, ARYx Therapeutics Inc. in Santa
makes patients feel sick.        fromseven bythis                    ing a 30-year-old drug        Clara, Cali£, is trying to correct flawsin ~
    The battle against harm-                                         called Cylert that can cause the way some drugs are broken down :
 ffuside effects is emerging     timelastyear:                       fatal liver problems.                                                    g
                                                                                                   in the liver. Its first target is Propulsid,
  ; a promising new frontier      Dala:Food & DrugAdministration        An Abbott spokeswoman      an acid-reflux treatment that J&J pulled :il
for the drug industry. Some                                          says the company will dis- in 2000.                                        u
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           NewsAnal                                                   sis & Commentar
   It turns out that when patients ingested             companies has licensed a screening sys-                      blood cell, that envelop the drug and de-
Propulsid along with certain other drugs,               tem developed by the Salk Institute for Bi-                  liver it straight to tumors. The protein, al-
the combination depleted the supply of an               ological Studies in San Diego. The test                      bumin, normally carries nutrients to t
important but rare enzyme in the liver                  pinpoints drugs likely to trip a potential-                  mors that help them to grow. "We'n:
that breaks down the drug. So too much                  ly lethal chain of events, in which the                      tricking the tumor into believing it's eat-
Propulsid passed into the blood, where it              body flushes out other drugs the patient is                   ing a nutrient, when in fact it's getting the
touched off other problems: It blocked the              taking before they can work.                                 drug," Soon-Shiong explains.
flow of potassium to the heart, causing ir-                Despite the promise of such tools, get-                       Several cancer centers are now testing
regular, potentially fatal heartbeats. By re-          ting reformulated drugs to market will                        Abraxane to see if the gentler formulation
designing one section of the Propulsid                 require more than technical prowess.                          will save lives by allowing doctors to de-
molecule, ARYx created a drug that fights               Some enterprising drug designers may                         liver higher doses of chemo over shorter
acid reflux, bypasses the problematic en-              be blocked by broad patents that other                        periods of time. And APP hopes to apply
zyme, and causes no heart risk. The drug               pharma companies hold. Then there's                           its technology to other cancer treatments
is still in mid-stage trials, but if it works,         the regulatory minefield. Even though                         on the market, as well as some that never
the market potential could be huge:                    the drugs are based on existing treat-                        made it into human testing because no
Propulsid hit nearly $1 billion in annual              ments, no one can predict whether the                         one could figureout how to dissolve them.
sales before it was yanked.                            reformulations will work until they un-                       Abraxane could bring in sales of up to
                                                       dergo years of human testing.                                 $155 million this year and grow 40% an-
COMPARING
       GENES                                               With so many reformulated drugs still                     nually for the next several years, analysts
AS PHARMACEUTICALcompanies                de-          unproven, all eyes are on the recent 0.IC.                    estimate. As more and more patients find
code the secrets of side effects, they're us-          for APP's Abraxane. The compound is de-                       their lives threatened by treatments that
ing that knowledge to design safer drugs               signed to fix a core problem with Taxol:                      were supposed to save them, companies
from the get-go. At Merck, scientists are              Before it can be injected into patients, it                   that blaze new pathways to safety will be
collecting data about patterns of genes                must be dissolved in a solvent so noxious                     richly rewarded. •
that become active or inactive when                    it can cause life-threatening allergic reac-                          -By Arlene Weintraubin New York,
drugs cause serious effects. The database              tions. Dr. Patrick Soon-Shiong, founder                                       with Michael.Arndtin Chicago
helps them to flag new molecules that                  and chairman of the Schaumburg {ill.)
cause similar genetic patterns, allowing               biotech, figured out how to replace the                                             Formore on the
them to throw out potentially harmful                  solvent with nanoparticles of human pro-                      fight againstdrug side effects,go to
compounds. And a handful of pharma                     tein, each one-hundredth the size of a red                    www.businessweek.com/extras.

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Cancer Therapy: Preclinical


Influence of Formulation Vehicle on Metronomic Taxane
Chemotherapy: Albumin-Bound versus Cremophor
EL ^ Based Paclitaxel
Sylvia S.W. Ng,1 Alex Sparreboom,2 Yuval Shaked,1 Christina Lee,1 Shan Man,1 Neil Desai,3
Patrick Soon-Shiong,3 William D. Figg,2 and Robert S. Kerbel1



      Abstract          Purpose: Low-dose metronomic chemotherapy treatments, especially when combined with
                        ‘dedicated’antiangiogenic agents, can induce significant antitumor activity without serious toxic-
                        ity in various preclinical models. It remains unclear, however, whether some cytotoxic drugs are
                        better suited for metronomic regimens than others. Paclitaxel appears to be a strong candidate for
                        metronomic chemotherapy given its ability to inhibit endothelial cell functions relevant to angio-
                        genesis in vitro at extraordinarily low concentrations and broad-spectrum antitumor activity. Clin-
                        ically relevant concentrations of the formulation vehicle cremophor EL in Taxol, however, were
                        previously reported to nullify the antiangiogenic effect of paclitaxel, the result of which would
                        hamper its usefulness in metronomic regimens. We hypothesized that ABI-007, a cremophor
                        EL ^ free, albumin-bound, 130-nm form of paclitaxel, could potentially alleviate this problem.
                        Experimental Design: The antiangiogenic activity of ABI-007 was assessed by multiple in vitro
                        assays. The in vivo optimal dose of ABI-007 for metronomic chemotherapy was determined by
                        measuring circulating endothelial progenitors in peripheral blood. The antitumor effects of
                        metronomic and maximum tolerated dose ABI-007 and Taxol were then evaluated and compared
                        in severe combined immunodeficient mice bearing human MDA-MD-231breast cancer and PC3
                        prostate cancer xenografts.
                        Results: ABI-007 significantly inhibited rat aortic microvessel outgrowth, human endothelial cell
                        proliferation, and tube formation. The optimal metronomic dose of ABI-007 was determined to be
                        between 3 and 10 mg/kg. Metronomic ABI-007 but not Taxol, significantly suppressed
                        tumor growth in both xenograft models. Furthermore, the antitumor effect of minimally toxic
                        metronomic ABI-007 approximated that of the maximum tolerated dose of Taxol.
                        Conclusions: Our results underscore the influence of formulation vehicles on the selection of
                        cytotoxic drugs for metronomic chemotherapy.




An alternative dosing regimen to pulsatile maximum tolerated                            over long periods of time (1). The reduced toxicity and
dose (MTD) or ‘‘dose dense’’ and dose-intensive chemotherapy                            comparable or even increased efficacy of metronomic regimens
is ‘‘metronomic chemotherapy’’: the frequent administration of                          compared with some MTD counterparts have been shown in a
such drugs at close regular intervals with no prolonged breaks                          number of preclinical models (2, 3). In addition, metronomic
                                                                                        chemotherapy regimens are particularly well suited for long-
                                                                                        term combination with relatively non – toxic-targeted biological
Authors’ Affiliations: 1Molecular and Cellular Biology Research, Sunnybrook             therapeutics especially antiangiogenic drugs (4, 5), sometimes
Health Sciences Centre, Toronto, Ontario, Canada; 2 Clinical Pharmacology               being used after an initial short course of MTD chemotherapy
Research Core, Medical Oncology Clinical Research Unit, National Cancer Institute,      (i.e., ‘‘chemo-switching’’ protocols; refs. 4, 6). Some phase II
NIH, Bethesda, Maryland; and 3Abraxis BioScience, Santa Monica, California              clinical trials have been reported with encouraging results,
Received 12/16/05; revised 4/21/06; accepted 5/10/06.
Grant support: National Cancer Institute of Canada (NCIC), Canadian Institutes of
                                                                                        both in terms of antitumor efficacy and reduced toxicity,
Health Research (R.S. Kerbel) and Terry Fox Research Grant for New Investigators        although such results need to be validated in larger
funded through the NCIC.                                                                randomized phase II or III trials (7 – 9). These trials have
The costs of publication of this article were defrayed in part by the payment of page   involved combinations of two metronomically given drugs
charges. This article must therefore be hereby marked advertisement in accordance
                                                                                        [e.g., cyclophosphamide and methotrexate (7) or cyclophos-
with 18 U.S.C. Section 1734 solely to indicate this fact.
Note: S.S.W. Ng and Y. Shaked are recipients of postdoctoral fellowships from the       phamide and etoposide (8)] given orally on a daily basis, or
Canadian Institutes of Health Research.                                                 similar protocols in combination with a drug such as
Requests for reprints: Robert S. Kerbel, Molecular and Cellular Biology Research,       bevacizumab (Avastin), the anti-vascular endothelial growth
Sunnybrook Health Sciences Centre, Room S-217, 2075 Bayview Avenue,Toronto,             factor antibody (9).
Ontario, Canada, M4N 3M5. Phone: 416-480-5711; Fax: 416-480-5884; E-mail:
Robert.Kerbel@ sri.utoronto.ca.
                                                                                           Virtually every class of chemotherapeutic drug has been
   F 2006 American Association for Cancer Research.                                     reported to have antiangiogenic properties (10), which in many
   doi:10.1158/1078-0432.CCR-05-2762                                                    cases can be amplified by metronomic dosing schedules (1).



www.aacrjournals.org                                                                4331                 Clin Cancer Res 2006;12(14) July 15, 2006
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Cancer Therapy: Preclinical


However, the selection of chemotherapeutic drugs for metro-              MA) and allowed to gel for 30 minutes at 37jC and 5% CO2. Thoracic
nomic regimens remains somewhat arbitrary. It is not clear               aortas were excised from 8- to 10-week-old male Sprague-Dawley rats.
whether some agents or classes of agents are better suited for           Following removal of fibroadipose tissues, the aortas were cut into
                                                                         1-mm-long cross-sections, placed on Matrigel-coated wells, and covered
metronomic chemotherapy than others. Taxanes, such as
                                                                         with an additional 250 AL of Matrigel. After the second layer of Matrigel
paclitaxel, would seem to be excellent candidates based on
                                                                         had set, the rings were covered with EGM-II and incubated overnight at
the finding that ultra low (e.g., picomolar) concentrations of           37jC and 5% CO2. EGM-II consists of endothelial cell basal medium
paclitaxel can selectively inhibit endothelial functions relevant        (EBM-II; Cambrex, Walkersville, MD) plus endothelial cell growth
to angiogenesis, or even kill such cells (11 – 15). In addition,         factors provided as the EGM-II Bulletkit (Cambrex). The culture
long-term metronomic chemotherapy using microtubule-                     medium was subsequently changed to EBM-II supplemented with 2%
inhibiting taxanes as opposed to mutagenic and hence                     fetal bovine serum, 0.25 Ag/mL amphotericin B, and 10 Ag/mL
potentially carcinogenic DNA damaging drugs, such as alkylat-            gentamicin. Aortic rings were treated with EBM-II containing the
ing agents, could also be an advantage, especially in patients           vehicle (0.9% saline/albumin), carboxyamidotriazole (12 Ag/mL), or
receiving adjuvant metronomic therapy regimens over long                 ABI-007 (0.05-10 nmol/L paclitaxel) for 4 days and photographed on
                                                                         the fifth day using a 2.5 objective. Carboxyamidotriazole, a known
periods of time for early-stage disease (16). Furthermore, taxane
                                                                         antiangiogenic agent, was used at higher than clinically achievable
metronomic chemotherapy may be useful to combine with
                                                                         concentration as positive control (25). Experiments were repeated four
metronomic chemotherapy using another class of drug, such as             times using aortas from four different rats. The area of angiogenic
anti-metabolites (e.g., UFT, the oral 5-fluorouracil prodrug; ref.       sprouting, reported in square pixels, was quantified using Adobe
16). For example, we have recently reported that a concurrent            Photoshop 6.0.
combination of daily oral low-dose UFT and cyclophospha-                    Endothelial cell proliferation assay. Human umbilical vein endo-
mide can successfully control highly advanced visceral metas-            thelial cells (HUVEC; Cambrex) were maintained in EGM-II at 37jC
tases of human breast cancer in immunodeficient mice,                    and 5% CO2. HUVECs were seeded onto 12-well plates at a density of
whereas UFT or cyclophosphamide used alone could not                     30,000 per well and allowed to attach overnight. The culture medium
(17). However, clinically relevant concentrations of the                 was then aspirated, and fresh culture medium containing either the
                                                                         vehicle (0.9% saline/albumin), or ABI-007 (0.05-10 nmol/L paclitaxel)
formulation vehicle cremophor EL in Taxol were previously
                                                                         was added to each well. After 48 hours, cells were trypsinized and
reported to nullify the antiangiogenic activity of paclitaxel,
                                                                         counted with a Coulter Z1 counter (Coulter Corp., Hialeah, FL). All
suggesting that this agent or other anticancer drugs formulated          experiments were repeated thrice.
in cremophor EL and other commonly used solubilization                      Endothelial cell tube formation assay. Eight-well slide chambers
vehicles, such as polysorbate 80 (Tween 80), may need to be              were coated with 150 AL of Matrigel and allowed to gel at 37jC and 5%
used at much higher doses than anticipated to achieve effective          CO2 for 30 minutes. HUVECs were then seeded at 30,000 per well in
metronomic chemotherapy (18). As such, the advantage of                  EGM-II containing either the vehicle (0.9% saline/albumin) or ABI-007
reduced acute serious side effects associated with low-dose              (0.05-10 nmol/L paclitaxel) and incubated at 37jC and 5% CO2 for 16
paclitaxel regimens versus conventional MTD paclitaxel may be            hours. After incubation, slides were washed in PBS, fixed in 100%
compromised. Clearly, the presence of cremophor EL in Taxol              methanol for 10 seconds, and stained with DiffQuick solution II (Dade
                                                                         Behring, Inc., Newark, DE) for 2 minutes. To analyze tube formation,
hampers the use of paclitaxel in metronomic chemotherapy.
                                                                         each well was digitally photographed using a 2.5 objective. A
This may explain, for example, the results of Klement et al.
                                                                         threshold level was set to mask the stained tubes. The corresponding
(19), in which metronomic Taxol on its own had little obvious            area was measured as the number of pixels using MetaMorph software
effects on transplanted primary human breast tumors in several           (Universal Imaging, Downingtown, PA). Experiments were repeated
models.                                                                  thrice.
   ABI-007 (Abraxane), a novel cremophor EL – free, albumin-                Determination of the in vivo optimal biological dose of ABI-007 by
bound, 130-nm form of paclitaxel, was developed to retain                measuring circulating endothelial cells and circulating endothelial
the therapeutic benefits of paclitaxel but eliminate cremophor           progenitors. Six- to 8-week-old female BALB/cJ mice were random-
EL – associated toxicities in the Taxol formulation. Several             ized into the following eight groups (n = 5 each): untreated, treated
clinical trials have shown the improved pharmacokinetic and              with i.p. bolus injections of either the drug vehicle (0.9% saline/
toxicity profiles as well as therapeutic efficacy of ABI-007 over        albumin), or ABI-007 at 1, 3, 6, 10, 15, or 30 mg/kg paclitaxel daily
                                                                         for 7 days. At the end of the treatment period, blood samples were
Taxol in MTD regimens (20 – 24). We hypothesized that the
                                                                         drawn by cardiac puncture and collected in EDTA-containing
cremophor EL – free nature of ABI-007 may render paclitaxel-             vacutainer tubes (Becton Dickinson, Franklin Lakes, NJ). Circulating
based metronomic chemotherapy feasible. With this in mind,               endothelial cells (CEC) and circulating endothelial progenitors (CEP)
the primary objective of this study was to evaluate the                  were enumerated using four-color flow cytometry as previously
therapeutic potential of paclitaxel-based metronomic regimens            described (3, 26). Monoclonal antibodies specific for CD45 were
using ABI-007.                                                           used to exclude CD45+ hematopoietic cells. CECs and their CEP
                                                                         subset were depicted using the murine endothelial markers fetal liver
                                                                         kinase 1/vascular endothelial growth factor receptor 2, CD13, and
                                                                         CD117 (BD PharMingen, San Diego, CA). Nuclear staining (Pro-
 Materials and Methods                                                   count; BD Biosciences, San Jose, CA) was done to exclude the
                                                                         possibility of platelets or cellular debris interfering with the accuracy
  Drugs. Taxol injection containing paclitaxel at 6 mg/mL in a           of CEC and CEP enumeration (27, 28). After red cell lysis, cell
mixture of cremophor EL and ethanol USP (1:1 v/v; Bristol-Myers          suspensions were evaluated by a FACSCalibur (BD Biosciences) using
Squibb Canada, Montreal, Canada) was purchased from the local            analysis gates designed to exclude dead cells, platelets, and debris. At
hospital pharmacy. ABI-007 was obtained from American BioScience         least 100,000 events per sample were obtained to analyze the
(Santa Monica, CA).                                                      percentage of CECs and CEPs. The absolute number of CECs and
  Rat aortic ring assay. Twelve-well tissue culture plates were coated   CEPs was then calculated as the percentage of the events collected in
with 250 AL of Matrigel (Collaborative Biomedical Products, Bedford,     the CEC and CEP enumeration gates multiplied by the total white



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                                                                                    Metronomic Chemotherapy with Albumin-Bound Paclitaxel


cell count. Percentages of stained cells were determined and                     Statistics. All results were presented as mean F SE. Comparisons
compared with the appropriate negative controls. Positive staining            were made with one-way ANOVA followed by Student Newman-Keuls
was defined as being greater than nonspecific background staining. 7-         or Dunnett’s test with P < 0.05 as the criterion for statistical
Amino-actinomycin D was used to enumerate viable versus apoptotic             significance. Correlation between viable CEP levels in peripheral blood
and dead cells (29).                                                          and intratumoral microvessel density in the human tumor xenografts
    Human tumor xenograft therapy studies. Human prostate cancer cell         studies was examined using the nonparametric Spearman test with the
line PC3 and human breast cancer cell line MBA-MD-231 were                    level of significance set at P < 0.05.
obtained from the American Type Culture Collection (Manassas, VA)
and maintained at 37jC and 5% CO2 in RPMI 1640 supplemented                      Results
with 10% fetal bovine serum and antibiotics (100 units/mL penicillin
and 100 Ag/mL streptomycin). All animal experiments were done in                 Rat aortic angiogenesis, HUVEC proliferation, and tube
accordance with institutional guidelines for animal welfare. PC3 (5          formation in response to ABI-007. We first asked whether the
106 cells) were injected s.c. into 6- to 8-week-old male severe combined      antiangiogenic effects of paclitaxel can be effectively delivered
immunodeficient mice, whereas MDA-MB-231 (2  106 cells) were
                                                                              by the cremophor EL – free ABI-007 in vitro. As shown in
implanted orthotopically into the mammary fat pad of female severe
combined immunodeficient mice. When the primary tumor volume
                                                                              Fig. 1A, ABI-007 suppressed aortic microvessel outgrowth in a
reached f150 to 200 mm3, animals were randomized into eight
groups (n = 5-10 per group). Each group was treated with either 0.9%
saline/albumin vehicle control, cremophor EL vehicle control, metro-
nomic Taxol (1.3 mg/kg, i.p., qd), metronomic ABI-007 (3, 6, or 10
mg/kg paclitaxel, i.p., qd), MTD Taxol (13 mg/kg, i.v., qd5, 1 cycle),
or MTD ABI-007 (30 mg/kg paclitaxel, i.v., qd5, 1 cycle). Perpendic-
ular tumor diameters were measured with a caliper once a week, and
their volumes were calculated using the formula p/6  a  b 2, where a
is the longest dimension of the tumor, and b is the width. At the end of
the treatment period, blood samples were drawn by cardiac puncture
from mice in all groups and collected in EDTA-containing vacutainer
tubes (Becton Dickinson). CECs and CEPs were enumerated as
described above. Tumors were harvested, snap frozen in optimum
cutting temperature compound (Sakura Finetek USA, Inc., Torrance,
CA) in liquid nitrogen and subsequently processed for immunofluo-
rescence staining.
    Detection and quantification of intratumoral microvessel density. Five-
micrometer-thick sections obtained from each frozen tumor were
stained with H&E for histologic examination. For detection of micro-
vessels, sections were stained with a rat anti-mouse CD31/platelet/
endothelial cell adhesion molecule 1 antibody (1:1,000; BD PharMin-
gen) followed by a Texas Red – conjugated goat anti-rat secondary
antibody (1:200; Jackson ImmunoResearch Laboratories, Inc., West
Grove, PA). A single microvessel was defined as a discrete cluster or
single cell stained positive for CD31/platelet/endothelial cell adhesion
molecule 1, and the presence of a lumen was not required for scoring as
a microvessel. The microvessel density for each tumor was expressed as
the average count of the three most densely stained fields identified
with a 20 objective on a Zeiss AxioVision 3.0 fluorescence microscopic
imaging system. Four to five different tumors per each vehicle control or
treatment group were analyzed.
    In vivo angiogenesis evaluation. The Matrigel plug perfusion assay
was done with minor modifications as previously described (4). Briefly,
0.5 mL Matrigel supplemented with 500 ng/mL of basic fibroblast
growth factor (R&D Systems, Inc., Minneapolis, MN) was injected s.c.
on day 0 into the flanks of 10-week-old female BALB/cJ mice. On day 3,
animals were randomly assigned to eight groups (n = 5 each). Each
group was treated with either 0.9% saline/albumin vehicle control,
cremophor EL vehicle control, metronomic Taxol (1.3 mg/kg, i.p., qd),
metronomic ABI-007 (3, 6, or 10 mg/kg paclitaxel, i.p., qd), MTD Taxol
(13 mg/kg, i.v., qd5), or MTD ABI-007 (30 mg/kg paclitaxel, i.v.,
qdx5). As a negative control, five additional female BALB/cJ mice of
similar age were injected with Matrigel alone. On day 10, all animals
were injected i.v. with 0.2 mL of 25 mg/mL FITC-dextran (Sigma, St.
Louis, MO). Plasma samples were subsequently collected. Matrigel
plugs were removed, incubated with Dispase (Collaborative Biomedical
Products, Bedford, MA) overnight at 37jC, and then homogenized.
Fluorescence readings were obtained using a FL600 fluorescence plate
reader (Biotech Instruments, Winooski, VT). Angiogenic response was           Fig. 1. Effects of ABI-007 on rat aortic ring angiogenesis (A), HUVEC proliferation
expressed as the ratio of Matrigel plug fluorescence to plasma                (B), and tube formation (C). Columns, mean; bars, SE. *, P < 0.05, significantly
fluorescence.                                                                 different from the vehicle control. CAI, carboxyamidotriazole.




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concentration-dependent manner relative to the vehicle con-                           therefore, selected the lower dose (1.3 mg/kg) to minimize the
trol, reaching statistical significance at 5 nmol/L (53%                              amount of cremophor EL per paclitaxel administration for
inhibition) and 10 nmol/L (68% inhibition). The amount of                             subsequent experiments.
albumin present at each concentration of ABI-007 alone did                               Antitumor effects of metronomic and MTD ABI-007 versus
not inhibit angiogenesis (data not shown).                                            Taxol. Metronomic ABI-007 (3, 6, and 10 mg/kg) but not
   HUVEC proliferation was significantly inhibited by ABI-007                         Taxol (1.3 mg/kg) given i.p. daily for 4 weeks significantly
at 5 and 10 nmol/L by 36% and 41%, respectively. ABI-007                              inhibited growth of both MDA-MB-231 and PC3 tumors
also blocked tube formation by 76% at both 5 and 10 nmol/L                            (Fig. 3A and B). Neither ABI-007 nor Taxol given metronom-
(Fig. 1B and C).                                                                      ically induced weight loss in mice (Fig. 3C and D). Although
   In vivo optimal biological dose for metronomic ABI-                                MTD ABI-007 (30 mg/kg) suppressed tumor growth more
007. Next, the optimal dose of ABI-007 to be used in                                  effectively than MTD Taxol (13 mg/kg), significant weight loss
metrnomic chemotherapy was determined. Enumeration of                                 was noted with the former, indicating toxicity (Fig. 3C and D).
viable CEPs can be used as a surrogate pharmacodynamic                                In addition, two of five mice treated with MTD ABI-007
marker to establish the optimal biological dose for targeted                          displayed signs of paralysis in one limb 6 days after the last
antiangiogenic drugs (26) and metronomic chemotherapy                                 dose of drug. The paralysis was transient and resolved within 24
(30). Figure 2 shows that ABI-007 given i.p. daily for 7 days                         to 48 hours. Interestingly, the antitumor effect of metronomic
at 3 and 10 to 30 mg/kg significantly decreased CEP levels in                         ABI-007 at 6 mg/kg approximated that of MTD Taxol in the
non – tumor-bearing BALB/cJ mice. However, ABI-007 at 10 to                           MDA-MB-231 xenograft model (Fig. 3A). Increasing the dose of
30 mg/kg was associated with a significant reduction of white                         metronomic ABI-007 to 10 mg/kg did not seem to confer more
blood cell count indicative of toxicity (data not shown).                             pronounced tumor growth inhibition (Fig. 3A). In contrast,
Although the reduction of CEP levels by ABI-007 at 6 mg/kg did                        metronomic ABI-007 elicited greater antitumor response at 10
not reach statistical significance, decrease in white blood cell                      mg/kg than at 3 and 6 mg/kg in the PC3 xenografts (Fig. 3B).
count was not evident. We, therefore, concluded that the in vivo                         Viable CEP levels in response to metronomic and MTD ABI-007
optimal biological dose for metronomic ABI-007 was between                            versus Taxol. As illustrated in Fig. 4A, metronomic ABI-007
3 and 10 mg/kg. In a preliminary study, metronomic Taxol at                           significantly decreased the levels of viable CEPs in a dose-
1.3, 3, 6, or 13 mg/kg given i.p. (qdx7) did not significantly                        dependent manner in MDA-MB-231 tumor-bearing mice.
reduce viable CEP levels, whereas metronomic Taxol at 30 mg/                          Viable CEP levels also exhibited a dose-dependent reduction
kg or higher resulted in severe toxicity and eventually mortality                     in response to metronomic ABI-007 in PC3 tumor-bearing mice
in mice (data not shown). It was previously reported that the                         but reaching statistical significance only at 10 mg/kg (Fig. 4B).
i.p. administration of Taxol at doses commonly used in the                            Although metronomic Taxol seemed to reduce the levels of
clinic resulted in entrapment of paclitaxel in cremophor EL                           CEPs slightly in both xenograft models, the reduction did not
micelles in the peritoneal cavity and, consequently, insignifi-                       reach statistical significance (Fig. 4A and B). Both MTD ABI-007
cant plasma paclitaxel concentration (31). This would explain                         and MTD Taxol significantly lowered viable CEPs compared
why doses of metronomic Taxol (1.3, 3, 6, and 13 mg/kg) that                          with their respective vehicle controls in MDA-MB-231 tumor-
did not cause death failed to change viable CEP levels. In this                       bearing mice, whereas only MTD Taxol did so in the PC3
case, the i.p. administration of metronomic Taxol at 1.3 mg/kg                        tumor-bearing mice (Fig. 4A and B).
would not be any different from that at 13 mg/kg. We,                                    Effects of metronomic and MTD ABI-007 and Taxol on
                                                                                      intratumoral microvessel density. In MDA-MB-231 tumors,
                                                                                      metronomic ABI-007 at 6 and 10 mg/kg as well as MTD ABI-
                                                                                      007 seemed to reduce microvessel density slightly although
                                                                                      statistical significance was not reached (Fig. 5A). In PC3
                                                                                      tumors, metronomic ABI-007 at 3 and 10 mg/kg seemed to
                                                                                      decrease microvessel density but without reaching statistical
                                                                                      significance (Fig. 5A). Interestingly, a significant correlation
                                                                                      existed between microvessel density and the levels of viable
                                                                                      CEPs in the MDA-MB-231 (Fig. 5B; r = 0.76, P = 0.04) but not
                                                                                      in the PC3 (Fig. 5C; r = 0.071, P = 0.88) model.
                                                                                         In vivo antiangiogenic activity of metronomic and MTD ABI-
                                                                                      007 versus Taxol. In the Matrigel plug perfusion assay,
                                                                                      metronomic ABI-007 at 6 and 10 mg/kg seemed to decrease
                                                                                      angiogenesis, although the inhibition did not reach statistical
                                                                                      significance (Fig. 6). Angiogenesis seemed to be unaltered by
                                                                                      metronomic ABI-007 at 3 mg/kg, MTD ABI-007, MTD, and
                                                                                      metronomic Taxol relative to the respective vehicle controls
                                                                                      (Fig. 6). These observations were similar to the intratumoral
                                                                                      microvessel density results described above.

Fig. 2. Determination of optimal biologic dose of ABI-007 for metronomic dosing.         Discussion
Levels of viable CEPs in peripheral blood of BALB/cJ mice in response to escalating
doses of ABI-007. Untr’d, untreated control; S/A, saline/albumin vehicle control.
Columns, mean; bars, SE. *, P < 0.05, significantly different from the untreated        Our results show that metronomic chemotherapy using
control.                                                                              albumin-bound nanoparticle paclitaxel (ABI-007), but not



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Fig. 3. Effects of ABI-007 andTaxol used in metronomic or MTD regimens on MBA-MD-231 (A) and PC3 (B) tumor growth and the body weight of MDA-MB-231 (C) and
PC3 (D) tumor-bearing SCID mice. Five to 10 mice were used per control or treatment group. Points, mean; bars, SE.



paclitaxel formulated in cremophor EL (Taxol), exhibits potent                  Taxol to significantly reduce viable CEPs in MDA-MB-231
in vivo antitumor activity. It was previously reported that                     tumor-bearing mice might contribute, at least in part, to the
clinically relevant concentrations of formulation vehicles, such                enduring antitumor effect of the former. A higher paclitaxel
as cremophor EL, nullify the in vitro antiangiogenic effect of                  plasma clearance and a larger volume of distribution for ABI-
taxanes (18). Paclitaxel at 4 nmol/L dissolved in DMSO but not                  007 than for Taxol was recently reported in humans (33) as
in cremophor EL suppressed rat aortic angiogenesis and                          well as more rapid cellular uptake and binding (32), suggesting
HUVEC proliferation (18). In the present study, ABI-007 at 5                    that paclitaxel in the ABI-007 formulation might be more
nmol/L induced responses similar to those elicited by paclitaxel                effective against CEPs than Taxol. Higher intratumoral pacli-
at 4 nmol/L dissolved in DMSO, indicating that the antiangio-                   taxel concentration achieved by the ABI-007 formulation could
genic property of paclitaxel was effectively delivered by                       be another contributing factor (32, 33). We cannot explain why
cremophor EL – free ABI-007. Desai et al. (32) recently showed                  there was a lack of a significant decrease in viable CEPs by MTD
that paclitaxel in ABI-007 is actively transported into and across              ABI-007 in PC3 tumor-bearing mice. The possibility that the s.c.
endothelial cells by gp60 (a specific albumin receptor) –                       PC3 tumors might be less dependent on recruitment of CEPs
mediated caveolar transcytosis, a process that is inhibited by                  for angiogenesis compared with the orthotopic MDA-MB-231
cremophor EL in Taxol.                                                          tumors cannot be excluded.
   One cycle of either MTD ABI-007 or MTD Taxol was shown                          The significant weight loss and transient paralysis associated
herein to cause marked tumor growth inhibition and transient                    with MTD ABI-007 treatment and the absence of cremophor EL
regression in two different xenograft models (MDA-MB-231                        in the formulation prompted us to explore the feasibility of
and PC3). However, MTD Taxol – treated tumors rapidly                           using ABI-007 in metronomic regimens as a less toxic but still
resumed growth 3 weeks after the last dose of drug (day 42),                    highly effective antitumor alternative, one that would be well
whereas the growth of MTD ABI-007 – treated tumors continued                    suited for long-term combination with other drugs, such as
to be suppressed. The ability of MTD ABI-007 but not MTD                        vascular endothelial growth factor – targeted antiangiogenic



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                                                                                            total dose of ABI-007 given over 4 weeks in the metronomic
                                                                                            regimen, especially in the 10 mg/kg/d treatment group, was
                                                                                            substantially higher than that given over 5 days in the MTD
                                                                                            regimen (280 versus 150 mg), and yet no significant weight loss
                                                                                            was evident in the former. In marked contrast, metronomic
                                                                                            Taxol failed to suppress tumor growth or significantly alter
                                                                                            viable CEP levels. In all likelihood, this can be attributed to the
                                                                                            entrapment of paclitaxel in cremophor micelles in the




Fig. 4. Changes in the levels of viable CEPs in peripheral blood of MDA-MB231
(A) and PC3 (B) tumor-bearing severe combined immunodeficient mice after
treatment with metronomic or MTD ABI-007 and Taxol. Columns, mean; bars, SE.
a, P < 0.05, significantly different from saline/albumin vehicle control. b, P < 0.05,
significantly different from cremophor EL vehicle control.



drugs (4, 6). Naturally, the selection of optimal doses of ABI-
007 for such regimen is pivotal to achieving therapeutic
efficacy. We have recently shown the potential use of viable
CEP levels in peripheral blood as a biomarker to determine the
optimal biological doses of antiangiogenic drugs (26) and for
metronomic chemotherapy, at least in mice (30). For example,
the dose of DC101 (800 Ag), a rat monoclonal antibody against
mouse vascular endothelial growth factor receptor 2, which
induced the lowest levels of viable CEPs also elicited the
greatest reduction in tumor volume, whereas dose escalation up
to 2,000 Ag failed to decrease both variables any further (26). In
the current study, metronomic ABI-007 at 3 and 10 to 30 mg/kg
significantly reduced viable CEP levels in non – tumor-bearing
BALB/cJ mice. However, ABI-007 at 10 to 30 mg/kg was also
associated with significant reduction in white blood cell count,
indicative of toxicity. We, therefore, deduced that the optimal
biological doses for metronomic ABI-007 were between 3 and
10 mg/kg. Indeed, metronomic ABI-007 at 3 to 10 mg/kg given                                 Fig. 5. Intratumoral microvessel density (A) of MDA-MB-231 (n) and PC3 (5)
i.p. daily for 4 weeks effectively inhibited MDA-MB-231 and                                 xenografts treated with (A) saline/albumin control; (B) cremophor EL control; (C)
PC3 tumor growth. The observed decrease in tumor volume                                     metronomic 1.3 mg/kgTaxol; (D, E, and F) metronomic 3, 6, and 10 mg/kg ABI-007,
                                                                                            respectively; (G) MTD Taxol; and (H) MTD ABI-007. Columns, mean; bars, SE.
was accompanied by a dose-dependent reduction in viable CEP                                 Correlation between intratumoral microvessel density and the number of viable
levels in both xenograft models. It should also be noted that the                           CEPs in peripheral blood in MDA-MB-231 (B) and PC3 (C) tumor-bearing mice.




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                                                                                          metronomic ABI-007 doses was evident, whereas MTD Taxol
                                                                                          and MTD ABI-007 did not seem to block angiogenesis,
                                                                                          although statistical significance was not reached with any
                                                                                          treatment. Viable CEP levels may be a more sensitive marker
                                                                                          than intratumoral microvessel density or Matrigel plug
                                                                                          angiogenesis in the evaluation of response to treatment
                                                                                          modalities with an antiangiogenic/antivasculogenic compo-
                                                                                          nent. Although the mechanistic basis of metronomic chemo-
                                                                                          therapy is thought to be primarily antiangiogenic (2 – 4, 30),
                                                                                          recent evidence showed that long-term metronomic chemo-
                                                                                          therapy in mice using cyclophosphamide can also stimulate
                                                                                          immune responses by augmenting memory T cells and
                                                                                          depleting both regulatory and suppressor T cells (35). We
                                                                                          cannot exclude the possibility that metronomic chemotherapy
                                                                                          using paclitaxel may also induce similar immunomodulatory
                                                                                          responses. It is becoming increasingly clear that metronomic
                                                                                          chemotherapy regimens exert multiple effects in addition to
                                                                                          angiogenesis inhibition.
                                                                                             In summary, we have shown that paclitaxel in the absence
                                                                                          of cremophor EL is a viable and effective drug for
                                                                                          metronomic chemotherapy. The therapeutic potential of
                                                                                          metronomic ABI-007 given alone or in combination with
                                                                                          other anticancer and/or antiangiogenic agents warrants
Fig. 6. Effects of metronomic or MTD ABI-007 and Taxol on basic fibroblast                investigation in the clinical setting. Our findings especially
growth factor (bFGF) ^ induced angiogenesis in Matrigel plugs injected s.c. into the      underscore the importance of selecting an optimal formula-
flanks of BALB/cJ mice. Matrigel implanted without basic fibroblast growth factor
( bFGF) served as negative control. Columns, mean; bars, SE.
                                                                                          tion strategy for cytotoxic drugs (and other investigational
                                                                                          agents) to be used in metronomic chemotherapy regimens.
                                                                                          Clearly, the potential of the nanoparticle albumin-bound
peritoneal cavity. Gelderblom et al. (31) reported a significant
                                                                                          technology extends beyond paclitaxel. For instance, Nab-028,
increase in bioavailability and systemic concentrations of i.p.
                                                                                          the novel taxane ABI-028 formulated as albumin-bound
paclitaxel in the absence of cremophor EL in patients.
                                                                                          nanoparticles, showed improved efficacy and lower toxicity
Interestingly, the antitumor effect of metronomic ABI-007 at
                                                                                          than ABI-028 formulated in Tween 80 (36). 17-(Allylamino)-
6 and 10 mg/kg approximated that of MTD Taxol in MDA-MB-
                                                                                          17-demethoxygeldanamycin, a hydrophobic drug that inhib-
231 and PC3 xenografts, respectively. This observation suggests
                                                                                          its HSP90 and shows poor tolerability when solubilized in a
that metronomic ABI-007 at optimal biological doses may be a
                                                                                          DMSO-egg lecithin vehicle, was successfully prepared as an
more desirable means to administer paclitaxel than MTD Taxol
                                                                                          albumin-bound nanoparticle formulation suitable for i.v.
because cremophor EL – associated toxicities are eliminated.
                                                                                          administration (37). Finally, with respect to the use of
   Intratumoral microvessel density seemed to decrease slightly
                                                                                          taxanes in metronomic chemotherapy regimens, a compari-
in response to metronomic and MTD ABI-007 but not Taxol,
                                                                                          son of nanoparticle-based formulations, such as ABI-007,
albeit without reaching statistical significance. However,
                                                                                          with orally bioavailable taxanes (e.g., BMS-275183) would
reduction in microvessel density is not always obtained with
                                                                                          seem timely because our results suggest that metronomic
antiangiogenic agents (34). A significant correlation between
                                                                                          chemotherapy with low-dose, cremophor EL – free taxanes
microvessel density and the levels of viable CEPs was noted in
                                                                                          should be feasible and effective.
the MDA-MB-231, but this was not observed in the PC3
xenograft model. The in vivo antiangiogenic activity of the
various treatment regimens used in the tumor xenograft                                     Acknowledgments
studies was also evaluated using the Matrigel plug perfusion
assay. A trend of decreasing angiogenesis with increasing                                    We thank Cassandra Cheng for her excellent secretarial assistance.




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  phase II clinical trial of bevacizumab (Bev) and low         drug-resistant human breast cancer xenografts. Clin          infusion of endostatin inhibits differentiation, mobiliza-
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         VOLUME            29    䡠   NUMBER     34   䡠   DECEMBER     1   2011



         JOURNAL OF CLINICAL ONCOLOGY                                                            O R I G I N A L              R E P O R T




                                                Gemcitabine Plus nab-Paclitaxel Is an Active Regimen in
                                                Patients With Advanced Pancreatic Cancer: A Phase
                                                I/II Trial
                                                Daniel D. Von Hoff, Ramesh K. Ramanathan, Mitesh J. Borad, Daniel A. Laheru, Lon S. Smith, Tina E. Wood,
                                                Ronald L. Korn, Neil Desai, Vuong Trieu, Jose L. Iglesias, Hui Zhang, Patrick Soon-Shiong, Tao Shi,
                                                N.V. Rajeshkumar, Anirban Maitra, and Manuel Hidalgo
Daniel D. Von Hoff, Ramesh K. Ramana-
than, TGen/Virginia G. Piper Cancer Center;                                           A    B    S    T   R   A    C   T
Mitesh J. Borad, Mayo Clinic; Ronald L.
Korn, Scottsdale Medical Imaging, Scotts-       Purpose
dale, AZ; Daniel A. Laheru, N.V. Rajeshku-      The trial objectives were to identify the maximum-tolerated dose (MTD) of first-line gemcitabine plus
mar, and Anirban Maitra, The Sol Goldman        nab-paclitaxel in metastatic pancreatic adenocarcinoma and to provide efficacy and safety data.
Pancreatic Cancer Research Center, Johns        Additional objectives were to evaluate positron emission tomography (PET) scan response, secreted
Hopkins University, Baltimore, MD; Lon S.
                                                protein acidic and rich in cysteine (SPARC), and CA19-9 levels in relation to efficacy. Subsequent
Smith, South Texas Oncology/Hematology,
San Antonio, TX; Tina E. Wood, University
                                                preclinical studies investigated the changes involving the pancreatic stroma and drug uptake.
of Alabama at Birmingham, Birmingham,
                                                Patients and Methods
AL; Neil Desai, Vuong Trieu, Jose L. Igle-
                                                Patients with previously untreated advanced pancreatic cancer were treated with 100, 125, or 150
sias, Hui Zhang, and Tao Shi, Celgene,
Summit, NJ; Patrick Soon-Shiong, Univer-
                                                mg/m2 nab-paclitaxel followed by gemcitabine 1,000 mg/m2 on days 1, 8, and 15 every 28 days. In the
sity of California, Los Angeles, CA; and        preclinical study, mice were implanted with human pancreatic cancers and treated with study agents.
Manuel Hidalgo, CNIO, Madrid, Spain.
                                                Results
Submitted April 14, 2011; accepted July         A total of 20, 44, and three patients received nab-paclitaxel at 100, 125, and 150 mg/m2, respectively.
8, 2011; published online ahead of print        The MTD was 1,000 mg/m2 of gemcitabine plus 125 mg/m2 of nab-paclitaxel once a week for 3
at www.jco.org on October 3, 2011.              weeks, every 28 days. Dose-limiting toxicities were sepsis and neutropenia. At the MTD, the response
Sponsored by Abraxis BioScience, Los            rate was 48%, with 12.2 median months of overall survival (OS) and 48% 1-year survival. Improved OS
Angeles, CA, a wholly owned subsidiary of       was observed in patients who had a complete metabolic response on [18F]fluorodeoxyglucose PET.
Celgene, Summit, NJ. The preclinical stud-      Decreases in CA19-9 levels were correlated with increased response rate, progression-free survival,
ies were supported in part by National Insti-
                                                and OS. SPARC in the stroma, but not in the tumor, was correlated with improved survival. In mice
tutes of Health Grants No. CA116554
and CA129963 (M.H.) and CA113669 and
                                                with human pancreatic cancer xenografts, nab-paclitaxel alone and in combination with gemcitabine
CA134767 (A.M.) and by a Stand Up To            depleted the desmoplastic stroma. The intratumoral concentration of gemcitabine was increased by
Cancer-American Association for Cancer          2.8-fold in mice receiving nab-paclitaxel plus gemcitabine versus those receiving gemcitabine alone.
Research Dream Team Translational
Cancer Research Grant No. SU2C-AACR-
                                                Conclusion
DT0509.
                                                The regimen of nab-paclitaxel plus gemcitabine has tolerable adverse effects with substantial
                                                antitumor activity, warranting phase III evaluation.
Authors’ disclosures of potential conflicts
of interest and author contributions are
found at the end of this article.               J Clin Oncol 29:4548-4554. © 2011 by American Society of Clinical Oncology
Clinical Trials repository link available on
JCO.org.                                                                                                 based regimens,3-7 improved therapeutic options
                                                                  INTRODUCTION
Corresponding author: Daniel D. Von Hoff,                                                                are greatly needed.
MD, TGen/Virginia G. Piper Cancer Ctr, 445
                                                Metastatic pancreatic ductal adenocarcinoma (PDA)             The selection of nab-paclitaxel, a 130-nm
N Fifth St, Suite 600, Phoenix, AZ 85004;
e-mail: dvh@tgen.org.                           is a lethal disease with approximately 6 months          albumin-bound formulation of paclitaxel parti-
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                                                of median survival.1,2 Gemcitabine is the only           cles (Celgene, Summit, NJ), in combination
Oncology                                        approved single agent, with a median survival of         with the standard gemcitabine was based on a
0732-183X/11/2934-4548/$20.00                   5.7 months and 20% 1-year survival.3 Except for          molecular profiling of PDA tumor samples,8 in
DOI: 10.1200/JCO.2011.36.5742                   erlotinib, all phase III trials exploring gemcitabine-   which secreted protein acidic and rich in cysteine
                                                based combinations have failed to improve overall        (SPARC), an albumin-binding protein, was noted
                                                survival (OS).4 Nevertheless, a recent meta-             to be overexpressed. nab-Paclitaxel has shown an-
                                                analysis of randomized trials revealed a general         titumor activity in various advanced cancer types
                                                survival benefit for gemcitabine-based chemo-            that overexpress SPARC,9-11 including breast,12-14
                                                therapies for patients with good performance sta-        lung,15,16 and melanoma.17
                                                tus.5 Because of the moderate activity of the                 The objectives of this trial were to identify the
                                                current standard gemcitabine and gemcitabine-            maximum-tolerated dose (MTD) of gemcitabine

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                                                    Gemcitabine Plus nab-Paclitaxel in Advanced Pancreatic Cancer



plus nab-paclitaxel as first-line therapy in patients with metastatic PDA                 drug to the start of disease progression or patient death, whichever occurred first.
and to provide efficacy and safety data to permit the planning of a possible              OS was defined as the time from first dose of study drug to patient death. PFS and
pivotal phase III trial. Additional exploratory objectives were to eval-                  OS were analyzed using Kaplan-Meier methods.
uate SPARC and CA19-9 levels and positron emission tomography                                   To assess possible relationships between CA19-9 and efficacy outcomes,
                                                                                          the correlation of maximum decrease from baseline in CA19-9 with survival
(PET) scan response in relation to efficacy. Subsequent preclinical
                                                                                          was analyzed. SPARC immunohistochemistry was performed using a mono-
studies in human pancreatic cancer xenografts investigated the under-                     clonal and a polyclonal antibody and proprietary methodology. Seven tissue
lying biology of the substantial clinical activity seen in this phase                     components including tumor cells and stromal components such as fibroblast
I/II study.                                                                               and inflammatory cells were evaluated. For each tissue component and each
                                                                                          antibody, three measures were recorded by two board-certified pathologists at
                                                                                          a Clinical Laboratory Improvement Amendments laboratory: maximum in-
                          PATIENTS AND METHODS                                            tensity, percentage of cells at the maximum intensity, and overall score, pro-
                                                                                          viding 42 variables. All variables were standardized across patients via z-score
Phase I/II Clinical Study                                                                 transformation and averaged between the two pathologists. For each patient,
      The study was conducted at four centers in the United States in accordance          an average z-score was calculated across variables. On the basis of the average
with the Declaration of Helsinki and Good Clinical Practice, Guidelines of the            z-scores ⱖ or less than 0, patients were classified into a high- or low-SPARC
International Conference on Harmonization. Written informed consent was ob-               group, respectively. The difference in OS between the low- and high-SPARC
tained from all patients before entering the study. Eligibility criteria included age ⱖ   groups was assessed by the log-rank test, and a multivariate Cox regression
18 years and histologically or cytologically confirmed metastatic PDA with mea-           model was used to assess the independent predictive power of SPARC levels.
surable disease by computed tomography scan as defined by the Response Evalu-             All statistical analyses for SPARC were carried out in R version 2.12.0.21
ation Criteria in Solid Tumor (RECIST) version 1.0 guidelines.18 Patients had no
previous treatment for metastatic disease. Prior adjuvant treatment with fluorou-         Preclinical Study Methods
racilorgemcitabineadministeredasaradiationsensitizerduringandupto4weeks                         The objectives of these preclinical studies were to evaluate tumor pro-
after radiation therapy was allowed. If a patient received adjuvant therapy,              gression, potential changes in the pancreatic stroma, and intratumoral
tumor recurrence must have occurred ⱖ 6 months after the last treatment.                  drug penetration.
Patients had an Eastern Cooperative Oncology Group performance status of 0
or 1 and had adequate hematologic, hepatic, and renal function.                           Xenograft Establishment and Treatment
                                                                                                 Fresh pancreatic cancer tissues obtained from 11 chemotherapy-naive
Study Design                                                                              patients who underwent surgery at the Johns Hopkins (JH) Hospital were
       This was an open-label phase I/II study. In the phase I portion, the primary       propagated as subcutaneous tumors in 6-week-old female athymic nude mice
end point was to identify the MTD and dose-limiting toxicities (DLTs) of gemcit-
                                                                                          as a live PancXenoBank.22 Mice with tumor size of ⬃200 mm3 were randomly
abine (1,000 mg/m2) followed by nab-paclitaxel (100, 125, or 150 mg/m2), admin-
                                                                                          assigned to four treatment groups (seven to 10 tumors/group): (1) control, (2)
istered intravenously (IV) on days 1, 8, and 15, every 28 days, using the standard
                                                                                          gemcitabine 100 mg/kg intraperitoneally (IP) on days 1 and 5 weekly for 4
3 ⫹ 3 phase I dose-escalation design.19 Per protocol, DLTs were treatment-related
                                                                                          weeks, (3) nab-paclitaxel 30 mg/kg/d IV for 5 consecutive days, and (4) gem-
toxicities during cycle 1 per National Cancer Institute Common Terminology
Criteria of Adverse Events version 3.0, including any grade 4 hematologic toxicity;       citabine plus nab-paclitaxel in the preceding regimens for 4 weeks. A response
grade 3 thrombocytopenia with hemorrhage; grade ⱖ 3 nausea, vomiting, or                  was defined as a more than 50% regression in tumor size. Animals were killed
diarrhea despite prophylaxis; or any grade ⱖ 3 treatment-related nonhematologic           on day 28. The experimental protocol was approved by the Animal Care and
toxicity, excluding alopecia and fatigue. Dose escalation was stopped when ⱖ one          Use Committee at JH University.
of three patients had DLTs, and the dose below was declared the MTD. Patients
continued treatment until disease progression or unacceptable toxicity. In the            Immunohistochemistry
phase II portion, accrual continued at the MTD to ⱖ 42 patients to evaluate the                 Tumorsobtainedateuthanasiawereimmediatelyflashfrozen,andaportion
efficacy and safety of the combination. This clinical study also evaluated PET scan       of each tumor was kept in 10% formalin for paraffin embedding. The extent of
response, CA19-9, and SPARC levels in relation to antitumor activity.                     stromal desmoplasia was determined by an immunohistochemistry assay for col-
                                                                                          lagen 1 (1:500; Abcam, Cambridge, MA).23 Stromal vascularity was assessed using
Assessments                                                                               an anti-CD31 antibody (1:200; Santa Cruz Biotechnologies, Santa Cruz, CA).
       All patients who received at least one dose of study drugs were evaluated for
efficacy and safety. Response was assessed by computed tomography scans at                Quantitative Real-Time PCR
baseline and every 4 weeks on day 1 of each cycle (per RECIST v1.0); an initial                 Endothelial cell content was quantified by real-time polymerase chain
response (complete [CR] or partial response [PR]) had to be confirmed at least 4          reaction (qRT-PCR) for murine-specific nestin (mNestin) transcripts.24 For
weeks later. Metabolic activity was assessed by [18F]fluorodeoxyglucose (FDG)             qRT-PCR, total RNA was isolated (RNeasy Mini Kit, Qiagen, Santa Clarita,
PET scans at baseline and at 6 and 12 weeks on the basis of the European Organi-          CA), followed by cDNA production (SuperScript III First Strand synthesis kit,
sation for Research and Treatment of Cancer criteria by an independent investiga-         Invitrogen, Carlsbad, CA). Relative fold expression of mNestin was calculated
tor.20 Safety was assessed by the incidence of treatment-related adverse events           using the 2-⌬⌬Ct method.25
(AEs), according to the National Cancer Institute Common Terminology Criteria
of Adverse Events version 3.0, and incidence of patients experiencing dose modi-          Gemcitabine Uptake in Tumors
fications, dose interruptions, and/or premature discontinuation of study drug.                  Mice harboring PANC265 xenograft were treated with gemcitabine at 100
CA19-9 levels were monitored by investigators at every cycle. Archived tumor              mg/kg IP on day 5 or gemcitabine 100 mg/kg on day 5 plus nab-paclitaxel 30
blocks, if available, were collected for SPARC analysis.                                  mg/kg/d IV for 5 consecutive days. Animals were killed and tumors were harvested
Statistical Methods for Efficacy End Points and Biomarkers                                1hourafterthelastgemcitabinedose.Gemcitabineconcentrationsintumorswere
      With a total of 44 patients treated at the MTD, there was ⱖ 95% power of            measured in the JH Analytic Pharmacology Core. Briefly, tumor tissue homoge-
observing a serious AE that had an incidence of ⱖ 7%. The percentage of patients          nates were prepared. After liquid extraction and evaporation of homogenates, the
(with 95% CI) who achieved an objective CR or PR using RECIST criteria were               sample was dissolved in 100 ␮L of methanol/water (10:90, volume/volume). The
summarized using descriptive statistics. Disease control rate was defined as the          analytes were separated on a YMC Jsphr M80TM C18 column (Waters, Millford,
percentage of patients with CR, PR, and stable disease (SD) ⱖ 16 weeks.                   MA), and gemcitabine and dFdU (a gemcitabine metabolite) were monitored by
Progression-free survival (PFS) was defined as the time from first dose of study          tandem mass spectrometry.

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                                                                                            patient with a possible history of ethanol abuse had asymptomatic
                                     RESULTS
                                                                                            neutropenia (absolute neutrophil count 0.85 ⫻ 109 cells/L), and a
                                                                                            79-year-old patient had asymptomatic thrombocytopenia (platelet
Patients                                                                                    count 60 ⫻ 109 cells/L). In three of those first six patients, radiologic
     A total of 67 patients were enrolled and evaluated (Table 1). All                      responses were observed. Because of the confounding factors in two
patients have discontinued therapy either because of progressive dis-                       patients with dose delays, the potentially promising level of antitumor
ease (48%), unacceptable toxicity without progressive disease (18%),                        activity with this regimen, and the excellent tolerability in the remain-
patient discretion (17%), investigator discretion (8%), AE (8%), or                         ing patients, the protocol was modified to allow for a total of 20
other (2%). The most common treatment-related AEs that led to                               patients at dose level 1 rather than considering this dose level as having
treatment discontinuation were neuropathy and fatigue.                                      exceeded the MTD. Subsequently, dose escalation proceeded to dose
MTD and DLTs                                                                                level 2 and then 3. Of the three patients at dose level 3 (150 mg/m2 of
     Of the first six patients treated at dose level 1 (100 mg/m2 nab-                      nab-paclitaxel), one patient died as a result of treatment-related sys-
paclitaxel cohort), two patients had their day 8 treatment held: one                        temic infection (neutropenia in the presence of a biliary stent) during
                                                                                            cycle 1, and the MTD was established at dose level 2 (125 mg/m2 of
                                                                                            nab-paclitaxel). The other two patients at dose level 3 had grade 3 AEs
       Table 1. Baseline Patient Demographics and Clinical Characteristics                  that were resolved (leukopenia, fatigue, and neutropenia). A total of 44
                                                    nab-Paclitaxel mg/m2                    patients were enrolled at dose level 2.
                                            100              125              150
                                         (n ⫽ 20)         (n ⫽ 44)          (n ⫽ 3)         Efficacy Results
          Characteristic               No.          %    No.          %    No.      %            Survival. In patients treated at the MTD of 125 mg/m2 of nab-
 Age, years
                                                                                            paclitaxel (n ⫽ 44), the median PFS was 7.9 months (95% CI, 5.8 to
    Median                                   62               61               69           11.0 months), median OS was 12.2 months (95% CI, 8.9 to 17.9
    Range                                 30-86             28-78             53-72         months; Fig 1A), and the 1-year survival was 48%. For all 67 patients,
 Female sex                              9      45        25     57         1      33       median PFS was 7.1 months (95% CI, 5.7 to 8.0 months), with median
 ECOG                                                                                       OS of 10.3 months (95% CI, 8.4 to 13.6).
    0                                    9          45    22          50    2      67
                                                                                                 Response rate. The overall response rate (ORR) was 46% for all
    1                                   11          55    22          50    1      33
 Site of metastatic disease
                                                                                            patients (N ⫽ 67). In the 100 (n ⫽ 20) and 125 (n ⫽ 44) mg/m2 nab-
    Abdomen/peritonealⴱ                 16          80    38          86    2      67       paclitaxel cohorts, the response rates were 45% and 48%, respec-
    Liver                               11          55    34          77    2      67       tively (Table 2). The overall disease control rate was 60% and
    Liver only                           1           5     2           5    1      33       68%, respectively.
    Lung                                 5          25    18          41    1      33            PET scan analysis. FDG PET scans were available for 55 patients.
    Lung only                            1           5     5          11    1      33       The median decrease in metabolic activity was 79% for all three cohorts
    Other                               10          50    12          27    1      33
                                                                                            togetherat12weeks.Inthe125mg/m2 nab-paclitaxelcohort(n⫽38),the
 No. of metastatic sites
    1                                    6          30     8          18    1      33
                                                                                            reduction in FDG uptake was greater compared with the 100 mg/m2
    2                                    8          40    18          41    2      67       cohort (n ⫽ 14; 68% v 53%; P ⫽ .044) at 6 weeks, but not at 12 weeks
    ⱖ3                                   6          30    18          41    0               (74% v 76%; P ⫽ .13, respectively). When PET analyses from all three
 CA19-9 baseline levels, n              15                37                2               cohorts were combined, patients with a complete metabolic response,
    Normal†                              2          13     6          16    1      50       defined according to the European Organisation for Research and Treat-
    Elevated                            13          87    31          84    1      50       ment of Cancer criteria by the absence of FDG uptake, had a significantly
 CA19-9 baseline, ␮/mL
                                                                                            improved OS compared with patients without a complete metabolic re-
    Median                               1,148              881              181
    Range                              14-180,062         1-96,990          23-339
                                                                                            sponse (median 20.1 v 10.3 months, respectively; P ⫽ .01; Fig 1B).
 Previous treatment
    Prior chemotherapy‡                  3          15    10          23    1      33       Treatment Exposure
    Prior adjuvant therapy               3          15    10          23    1      33             Across all nab-paclitaxel doses, patients received 81% of the
      With gemcitabine                   1           5     5          11    0               planned dose and 85% of the planned gemcitabine dose. The median
      With capecitabine                  1           5     4           9    0
                                                                                            number of cycles administered was 6.0 (range, 1 to 24) for all patients.
      With FU                            2          10     1           2    0
      With docetaxel                     0                 2           5    0
                                                                                            Twenty-five percent of patients had a nab-paclitaxel dose reduction,
      With erlotinib                     0                 0                1      33       with 20% in the 125 mg/m2 cohort. Thirty-one percent of patients had
 Time since adjuvant                                                                        a gemcitabine dose reduction, with 43% in the 125 mg/m2 cohort. For
      therapy,§ months                                                      5               all patients and in the 125 mg/m2 cohort, 72% and 70% of patients had
    Median                                     64               12                          a nab-paclitaxel dose delayed, respectively, mainly due to AEs. For all
    Range                                    9-81              1-23
                                                                                            patients, 73% patients had a dose delay of gemcitabine sometime in
 Abbreviations: ECOG, Eastern Cooperative Oncology Group; FU, fluorouracil;                 their treatment, mainly because of AEs.
nab, albumin bound.
 ⴱ
  Peritoneal was not collected separately.
 †Cutoff for normal range was ⬍ 37 u/mL. Approximately 10% to 15% of patients               Safety Results
with pancreatic cancer lack Lewis antigens and thus lack the ability to secrete CA19-9.
 ‡There were no prior neoadjuvant therapy regimens.
                                                                                                 The DLTs were sepsis and neutropenia. The most common
 §Time from last dose of prior adjuvant therapy to metastatic disease.                      treatment-related AEs of any grade were anemia (98%), leukopenia
                                                                                            (91%), neutropenia (89%), thrombocytopenia (83%), fatigue (76%),

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                                                                         Gemcitabine Plus nab-Paclitaxel in Advanced Pancreatic Cancer




  A                               100                              nab-Paclitaxel 125 mg/m2, n = 44         B                                                100                                               Incomplete Metabolic Responses (n = 38)
                                                                                                                                                                                                               Complete Metabolic Responses (n = 17)
                                                                                                                                                                                      O                                   O   Complete         Censored
                                                                                                                                                                                          O                                          P = .01
                                                                                                                                                                                          O

                                                                                                                                                              75                               O
                                   75
    Probability of Survival (%)




                                                                                                            Probability of Survival (%)
                                                                                                                                                                                                O

                                                                                                                                                                                                                  O

                                                                                                                                                                                                                   O
                                                                                                                                                                                                                          20.1 months
                                         12.2 months                                                                                                                                                                  O
                                   50                                                                                                                         50
                                                                                                                                                                        10.2 months

                                                                                                                                                                                                                              O




                                                                                                                                                                                                                                         O
                                   25                                                                                                                         25


                                                                                                                                                                                                                                                  O




                                    0      3     6     9     12     15     18      21   24        27   30                                                      0         3     6      9            12     15      18          21    24       27       30
                                                            Time (months)                                                                                                                       Time (months)
  C                                                                                                         D
                                  100                  Average z score ≥ 0, high SPARC (n = 19)                                                              300                              PR (n = 21)                           SD (n = 16)
                                                       Average z score < 0, low SPARC (n = 17)
                                                                                                                                                             280
                                                                                                            Maximum Percent Change from Baseline in CA19-9




                                                                       P = .0431
                                                                                                                                                             260
                                                                                                                                                             240
                                                                                                                                                             220
                                  75                                                                                                                         200
    Probability of Survival (%)




                                                                                                                                                             180
                                                                                                                                                             160
                                                                                                                                                             140
                                                                                                                                                             120
                                                                                17.8 months
                                  50                                                                                                                         100
                                        8.1 months                                                                                                            80
                                                                                                                                                              60
                                                                                                                                                              40
                                                                                                                                                              20
                                  25                                                                                                                            0
                                                                                                                                                              -20
                                                                                                                                                              -40
                                                                                                                                                              -60
                                                                                                                                                              -80
                                                                                                                                                             -100
                                                                                                                                                                    0 0 0 0 0 0 0 0 0 1 1 1 1 1 1 1 1 1 1 2 2 2 2 2 2 2 2 2 2 3 3 3 3 3 3 3 3
                                   0       3     6     9     12     15     18      21   24        27   30                                                           1 2 3 4 5 6 7 8 9 0 1 2 3 4 5 6 7 8 9 0 1 2 3 4 5 6 7 8 9 0 1 2 3 4 5 6 7

                                                            Time (months)                                                                                                                                   Patient

  Fig 1. (A) Median overall survival in patients receiving 125 mg/m2 of albumin-bound (nab) paclitaxel followed by 1,000 mg/m2 of gemcitabine. (B) Median overall survival
correlated with a complete metabolic response compared with baseline, defined according to the European Organisation for Research and Treatment of Cancer criteria by the
absence of [18F]fluorodeoxyglucose uptake (cohorts 1 and 2). (C) Median survival correlated with secreted protein acidic and rich in cysteine (SPARC; all cohorts). (D) Maximum
percentage change in CA19-9 levels in patients receiving 125 mg/m2 of nab-paclitaxel followed by 1,000 mg/m2 of gemcitabine. PR, partial response; SD, stable disease.


alopecia (76%), sensory neuropathy (63%), and nausea (48%). Most                                                                                             Biomarkers
of these treatment-related AEs were grade 1 and 2 (Table 3). Specifically,                                                                                         SPARC. SPARC status was evaluated in 36 patients. Applying
the most common grade ⱖ 3 nab-paclitaxel–related nonhematologic AEs                                                                                          the average z-score algorithm to all 42 variables, patients were classi-
were fatigue (21%) and sensory neuropathy (15%). Of the grade ⱖ 3                                                                                            fied into high-SPARC (average z-scores ⱖ 0, n ⫽ 19) and low-SPARC
treatment-related hematologic AEs, neutropenia (67%), leukopenia                                                                                             groups (average z-scores ⬍ 0, n ⫽ 17). A significant increase in OS was
(44%), and thrombocytopenia (23%) were the most common.                                                                                                      observedforpatientsinthehigh-SPARCgroupcomparedwithpatientsin

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  Table 2. Response Rates, Disease Progression, and Disease Control Rates                     Table 3. Selected Treatment-Related Adverse Events
          for All Patients and in the 125 mg/m2 nab-Paclitaxel Cohort
                                                                                                             Dose Level 1    Dose Level 2        Dose Level 3
                                        Dose Level 2       All Dose Levels                                     (n ⫽ 20)        (n ⫽ 44)            (n ⫽ 3)
                                          (n ⫽ 44)             (n ⫽ 67)
                                                                                        Adverse Events         No.     %       No.        %        No.      %
       Response Result                No.             %    No.          %
                                                                                  Nonhematologic events
 Complete response                      0                   3            4          Diarrhea
 Partial response                      21             48   28           42            Grade 1                   1       5        7        16        1       33
 Stable diseaseⴱ                        9             20   12           18            Grade 2                   1       5        6        14        0
 Progressive disease                    7             16   15           22            Grade 3                   3      15        1         2        0
 Disease control rate†                 30             68   43           64            Grade 4                   0                0                  0
 ⴱ
  Stable disease was defined as ⱖ 16 weeks.                                         Fatigue
 †Disease control rate was defined as the percentage of patients with                 Grade 1                   4      20      10         23        0
complete and partial response and stable disease ⱖ 16 weeks.                          Grade 2                   9      45      13         30        1       33
                                                                                      Grade 3                   1       5      12         27        1       33
                                                                                      Grade 4                   0               0                   0
                                                                                    Nausea
                                                                                      Grade 1                   7      35      11         25        1       33
the low-SPARC group (median OS, 17.8 v 8.1 months, respectively;                      Grade 2                   2      10       9         20        1       33
P ⫽ .0431; Fig 1C). Furthermore, SPARC level remained a signifi-                      Grade 3                   0               1          2        0
cant predictor for the OS in a multivariate Cox regression model                      Grade 4                   0               0                   0
after adjusting for clinical covariates, including sex, race, age, treat-           Sensory neuropathy
                                                                                      Grade 1                   5      25      15         34        0
ment, and baseline CA19-9 level (P ⫽ .041). Additionally, stromal
                                                                                      Grade 2                   1       5       9         20        2       67
SPARC was significantly correlated with OS (P ⫽ .013), but not                        Grade 3                   1       5       9         20        0
SPARC in tumor cells (P ⫽ .15).                                                       Grade 4                   0               0                   0
      CA19-9 levels. Rapid decreases in CA19-9 levels were observed,                Vomiting
with the median time to maximum decrease of 89 days. In the 125                       Grade 1                   1       5      10         23        1       33
mg/m2 cohort, 92% evaluable patients (34 of 37) had a ⱖ 20% de-                       Grade 2                   2      10       3          7        1       33
crease in CA19-9, 78% (29 of 37) had a ⱖ 50% decrease, and 70% (26                    Grade 3                   0               3          7        0
                                                                                      Grade 4                   0               0                   0
of 37) had a ⱖ 70% decrease in CA19-9. The median maximum                         Hematologic events
percentage change in CA19-9 level was 91% for all patients and also for             Anemia
patients in the 125 mg/m2 cohort (Fig 1D). CA19-9 levels were corre-                  Grade 1                   7      35      10         23        2       67
lated with increased survival. Patients with ⱖ 50% decrease in CA19-9                 Grade 2                  11      55      27         63        1       33
levels had a 62% ORR and 8.0 and 13.6 median months of PFS and OS,                    Grade 3                   1       5       6         14        0
                                                                                      Grade 4                   0               0                   0
respectively, whereas those with less than 50% decrease in CA19-9                   Leukopenia
level had a 33% ORR and 3.6 and 6.5 months of PFS and OS, respec-                     Grade 1                   2      10       6         14        1       33
tively (P ⫽ .105, ⬍ .001, and .004 for ORR, PFS, and OS, respectively).               Grade 2                  12      60       9         21        1       33
                                                                                      Grade 3                   4      20      16         37        1       33
                                                                                      Grade 4                   0               8         19        0
Preclinical Study Results
                                                                                    Neutropenia
      Gemcitabine and nab-paclitaxel alone resulted in tumor regres-                  Grade 1                   4      20       6         14        0
sions in two (18%) and four (36%) of 11 patient-derived xenografts,                   Grade 2                   3      15       1          2        1       33
respectively. However, gemcitabine plus nab-paclitaxel chemotherapy                   Grade 3                   8      40      11         26        2       67
resulted in tumor regressions in seven (64%) of 11 cases. The aggregate               Grade 4                   2      10      21         49        0
tumor regression response in individual xenografts derived from the                 Febrile neutropenia
                                                                                      Grade 1                   0                0                  0
11 parental cases were 22 (24%) of 90, 34 (36%) of 95, and 53 (55%) of
                                                                                      Grade 2                   0                0                  0
96 for gemcitabine, nab-paclitaxel, and gemcitabine plus nab-                         Grade 3                   1       5        1          2       0
paclitaxel, respectively (Fig 2A).                                                    Grade 4                   1       5        0                  0
      We analyzed the stromal content of two gemcitabine-resistant                  Thrombocytopenia
tumors in each of the treatment groups. Mice treated with vehicle or                  Grade 1                   5      25      18         42        2       67
gemcitabine exhibited a profuse desmoplastic stroma, as demon-                        Grade 2                   5      25       9         21        1       33
strated by the collagen type1 fibers (Fig 2B). In contrast, nab-paclitaxel            Grade 3                   2      10       8         19        0
                                                                                      Grade 4                   1       5       4          9        0
treatment depleted the desmoplastic stroma as evidenced by com-
pact “back-to-back” arrangement of neoplastic glands separated by                 NOTE. One patient at dose level 3 had grade 5 sepsis.
“wisps” of collagen. The reduction in stromal content was accom-
panied by dilated blood vessels in the tumor milieu, which were
particularly prominent in the combination therapy cohort. An                    the accompanied increase in vascularization facilitated the delivery
approximately three-fold increase in mNestin, marker of endothe-                of gemcitabine to these tumors.
lial cells, was observed in xenografts receiving combination therapy                  The intratumor concentration of gemcitabine increased by 2.8-
as compared with control tumors, consistent with increased stro-                fold in the gemcitabine plus nab-paclitaxel treated tumors compared
mal endothelial cell content. The reduction in tumor stroma and                 with gemcitabine-alone treated mice (Fig 2C).

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                                                                         Gemcitabine Plus nab-Paclitaxel in Advanced Pancreatic Cancer


                                                                                                         phase II study in patients with PDA, including the fluorouracil, leuco-
  A                           100                                                                        vorin, irinotecan, and oxaliplatin regimen,26 which in a recent random-
                                         Gemcitabine alone
                                         nab -Paclitaxel alone                                           ized phase III trial produced significantly improved survival compared
                                         nab -Paclitaxel + gemcitabine
                                                                                                         with gemcitabine alone.27 Additionally, this current study is among the
  Aggregate Tumor
   Regression (%)



                              75
                                                                                                         first to formally assess PET scan responses in pancreatic cancer. Results
                                                                                                         showedthatacompletelossofFDGmetabolicactivitywasassociatedwith
                              50
                                                                                                         favorable survival. In accordance with published results showing that
                                                                                                         CA19-9 is a prognostic marker for both PFS and OS,28 decrease from
                              25                                                                         baseline CA19-9 in the present study was an independent prognostic
                                                                                                         factor for OS. Overall, SPARC expression was not correlated with baseline
                               0                                                                         CA19-9 levels, indicating that SPARC is a predictive marker independent
                                                                                                         ofCA19-9levels.AlthoughanincreaseinSPARClevelwascorrelatedwith
  B                                                                                                      improved OS, the significant increase was specific to elevated stromal
                                                                                                         SPARC and not SPARC in tumor cells. This is particularly important
                                                                                                         because historically, SPARC expression in the stroma, but not in the
                                                                                                         tumor, has been associated with poor survival,29,30 suggesting that a
                                                                                                         unique mechanism of action of the present regimen may play a role in this
                                                                                                         reverse outcome. Together these observations indicate that stromal
                                                                                                         SPARC expression may be an important marker of early activity of gem-
                                                                                                         citabine plus nab-paclitaxel combination regimens in advanced pancre-
                                     Controls                               nab -Paclitaxel
                                                                                                         atic cancer.
                                                                                                                The preclinical studies were subsequently initiated on the basis of the
                                                                                                         encouraging responses seen in the clinical trial. In the present preclinical
                                                                                                         study, nab-paclitaxel alone and in combination with gemcitabine de-
                                                                                                         pletedtheperitumoraldesmoplasticstroma,andintratumoralconcentra-
                                                                                                         tion of gemcitabine increased in mice treated with nab-paclitaxel versus
                                                                                                         those receiving gemcitabine alone. We speculate that reducing the dense
                                                                                                         tumor stroma, a histologic hallmark of PDA, may allow the chemothera-
                                                                                                         peutics to reach the tumor tissue more efficiently. Although these preclin-
                                    Gemcitabine                   nab -Paclitaxel + gemcitabine          ical results were compelling in the athymic mouse, it has been noted that
                                                                                                         the mouse stromal cells may be transformed in the presence of human
  C                                          Gemcitabine alone                                           xenograft.31,32 Other existing models of PDA (eg, Kras mutations that
                                7,500        nab-Paclitaxel + gemcitabine
                                                                                                         harbor similar precancerous lesions as humans) may be needed to con-
   Mean (± SEM) Gemcitabine




                                                                                                         firm the stromal depletion seen in this model. The stromal depletion and
     Concentration (ng/g)




                                                                                                         the increased survival with SPARC expression observed in this study
                                5,000                                                                    indicate that, in addition to intrinsic antitumor effects against the cancer
                                                                                                         cell, nab-paclitaxel may target stromal SPARC and facilitate delivery of
                                                                                                         chemotherapy. These data are consistent with a recent preclinical study
                                2,500                                                                    targeting the hedgehog pathway in pancreatic cancer23 and suggest that
                                                                                                         stroma-directed treatments may be a new treatment strategy. In particu-
                                                                                                         lar,theantitumoractivityofgemcitabineplusnab-paclitaxelcombination
                                                                                                         therapy may, in part, be explained by the use of the albumin recep-
                                     0
                                                                                                         tor(gp60)–caveolin-1–caveolae–SPARC pathway to increase intratu-
                                                                                                         moral drug concentrations.33
   Fig 2. (A) Percentage incidence of aggregate tumor regression in response to
                                                                                                                Although the results of this clinical phase I/II study are promis-
gemcitabine, albumin-bound (nab) paclitaxel, and gemcitabine plus nab-paclitaxel
in individual xenografts derived from the 11 parental cases. (B) Immunohisto-                            ing, as with any nonrandomized study, patient selection may have
chemical assay for collagen type 1 fibers in a gemcitabine-resistant human                               influenced the outcome, and validation by a larger randomized trial is
pancreatic cancer xenograft treated with nab-paclitaxel, gemcitabine, or gemcit-
abine plus nab-paclitaxel. (C) Intratumor concentration of gemcitabine in human
                                                                                                         necessary. Given the favorable safety profile and the encouraging
pancreatic cancer xenografts.                                                                            antitumor activity of the nab-paclitaxel plus gemcitabine regimen, a
                                                                                                         phase III study comparing gemcitabine plus nab-paclitaxel and gem-
                                                                                                         citabine alone has been initiated.

                                                      DISCUSSION
                                                                                                                 AUTHORS’ DISCLOSURES OF POTENTIAL CONFLICTS
                                                                                                  2
                                                                                                                                 OF INTEREST
The MTD (the recommended dose for phase III) was 1,000 mg/m of
gemcitabine plus 125 mg/m2 of nab-paclitaxel administered weekly for 3                                   Although all authors completed the disclosure declaration, the following
weeks, repeated every 4 weeks. The 48% ORR, 12.2 months of OS, and                                       author(s) indicated a financial or other interest that is relevant to the subject
1-year survival of 48% at the MTD is among the highest reported for a                                    matter under consideration in this article. Certain relationships marked

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with a “U” are those for which no compensation was received; those
relationships marked with a “C” were compensated. For a detailed                                                             AUTHOR CONTRIBUTIONS
description of the disclosure categories, or for more information about
ASCO’s conflict of interest policy, please refer to the Author Disclosure                     Conception and design: Daniel D. Von Hoff, Ramesh K. Ramanathan,
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